34 F.3d 1074
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Joseph B. CRUZ, Defendant-Appellant.
    No. 93-10781.
    United States Court of Appeals, Ninth Circuit.
    Submitted Aug. 23, 1994.*Decided Aug. 26, 1994.
    
      Before:  WALLACE, Chief Judge, HUG and RYMER, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Joseph B. Cruz appeals his sentence under the Sentencing Guidelines imposed following his conviction for conspiracy to commit extortion under color of official right, in violation of 18 U.S.C. Sec. 1951, and conspiracy to commit money laundering, in violation of 18 U.S.C. Sec. 371.  He contends that the district court improperly considered the seriousness of public corruption offenses in sentencing him to the upper end of the guidelines range because that factor was already taken into account in setting the guidelines range.  We lack jurisdiction to review the district court's selection of a sentence within a properly calculated guidelines range.   United States v. Young, 988 F.2d 1002, 1004 (9th Cir.1993).
    
    
      3
      DISMISSED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Circuit Rule 36-3
      
    
    